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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

BERKSHIRE LIFE INSURANCE COMPANY )                           Case No. 2:12-cv-648
OF AMERICA,                      )
                                 )                           Judge Marbley
                Plaintiff,       )
                                 )                           Magistrate Judge Kemp
          v.                     )
                                 )
PAULA A. HABIB, MD,              )                           ORDER
                                 )
          Defendant.             )


        This Court, having considered Plaintiff’s Motion for Extension of Time to Respond to

Defendant’s Motion to Dismiss, and for good cause appearing,

        HEREBY ORDERS that the Motion for Extension of Time to Respond to Defendant’s Motion

to Dismiss is GRANTED. Plaintiff shall file its response to Defendant’s Motion to Dismiss on or before

January 31, 2013.

IT IS SO ORDERED.


Date:
                                                      _____________________________________
                                                       UNITED STATES DISTRICT JUDGE
